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                               Attachment 1
                United States' Complaint and Jury Demand

FHA Case Number        Closing Date    Endorsement Date    CHUMS ID
  031-3675717           10/27/2008         11/26/2008        CL51
  052-4725736           11/26/2008          1/13/2009        DK46
  071-1145105           11/19/2008           1/9/2009        CY94
  091-4560364           12/8/2008           2/9/2009         DK46
  093-6476861           9/30/2008          10/30/2008        T709
  094-5296656           9/29/2007          11/19/2007        CL51
  094-5596239           11/14/2008         12/31/2008        CL51
  095-0437604           10/9/2007          11/29/2007        CL51
  095-0708182           5/30/2008           7/14/2008        P819
  095-0954613           11/21/2008           1/8/2009        CY94
  095-0980195            2/9/2009          3/20/2009         DT01
  095-1117019           3/11/2009           4/1/2009         DK43
  105-4338615           2/12/2009           4/10/2009        DT01
  132-1975140           9/20/2007           11/2/2007        CL51
  137-4430734           11/12/2008          12/9/2008        CL51
  137-4457635           11/11/2008         12/16/2008        CL51
  137-4465598           12/17/2008          2/11/2009        DK46
  137-4470546           12/3/2008           1/22/2009        DK46
  137-4475718           1/12/2009           3/13/2009        CY94
  137-4482846           11/21/2008          1/13/2009        CY94
  137-4541012           12/31/2008          2/23/2009        DT01
  137-4568572           1/28/2009           3/18/2009        DT01
  197-3994384           12/8/2008           1/21/2009        DT01
  197-4067892           1/26/2009           3/10/2009        DT01
  201-3750682           9/27/2007          11/19/2007        CL51
  261-9482000           7/11/2008           8/13/2008        P819
  292-5068152           9/24/2008           9/25/2009        CY94
  352-5899239           10/31/2008          12/8/2008        CL51
  374-4641205           9/21/2007          10/31/2007        CL51
  374-5034995           1/14/2009           3/5/2009         DT01
  491-9320466           11/26/2008          1/13/2009        P819
  541-8208342           12/15/2008          2/10/2009        DT01




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